    Fill in this Information to identify the case:

    Debtor 1           John                 H               Hollaway
                      First Name            Middle Name        Last Name

                       Joan                 p               Hollaway
    Debtor 2
    (Spouse, if filing) First Name          Middle Name        Last Name

    United States Bankruptcy Court for the Northern District of Alabama
                                     16-41244-JJR 7
    Case number:


    ALNB LBf 1340 CB/19}

    APPLICATION FOR PAYMENT OF UNCLAIMED FUNDS

    1. Claim Information

    For the benefit of the Claimant(s) 1 named below, application is made for the payment of unclaimed funds on deposit with
    the court. I have no knowledge that any other party may be entitled to these funds, and I am not aware of any dispute
    regarding these funds .

    Note: If there are joint Claimants, complete the fields below for both Claimants.

    Amount:                                                                  $15,205.67
    Claimant's Name:                         Adams & Cohen, LLC as Assignee of the Estate of Joan P Hollaway

                                             PO Box 24048
    Claimant's Current Mailing
                                             Jacksonville, FL 32241
    Address, Telephone Number,
                                             Telephone: 904-204-9148
    and Email Address:                       Email : admin@adamscohen .com


    2. Applicant Information

    Applicant2 represents that Claimant is entitled to receive the unclaimed funds because (check the statements that
    apply):

    L'      Applicant is the Claimant and is the Owner of Record 3 entitled to the unclaimed funds appearing on the records of
            the court.

     [7      Applicant is the Claimant and is entitled to the unclaimed funds by assignment, purchase, merger, acquisition ,
             succession or by other means.

    ~        Applicant is Claimant's representative (e.g. , attorney or unclaimed funds locator).

            Applicant is a representative of the deceased Claimant's estate.
    3. Supporting Documentation
     IZ     Applicant has read the court's instructions for filing an Application for Unclaimed Funds and is provid ing the required
            supporting documentation with this application .




1
  The Claimant is the party entitled to the unclaimed funds.
2
  The Applicant is the party filing the application. The Applicant and Claimant may be the same.
3
  The Owner of Record is the original payee.



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      4. Notice to United States Attorney

      [7    Applicant has sent a copy of this application and supporting documentation to the United States Attorney,
            pursuant to 28 U.S.C . § 2042, at the following address:

                                                     Office of the United States Attorney
                                                         Northern District of Alabama
                                                         1801 Fourth Avenue North
                                                            Birmingham, AL 35203

      5. Applicant Declaration                                        5. Co-Applicant Declaration (if applicable)
      Pursuant to 28 U.S.C. § 1746, I declare under penalty of        Pursuant to 28 U.S.C . § 1746, I declare under pe,alty of
      perjury under the laws of the United States of America          perjury under the laws of the United States of America
      that the forego ing is true and correct.                        that the foregoing is true and correct.




                                                                      Signature of Co-Applicant (if applicable)4

       Jairo Camargo for Adams & Cohen , LLC

      Printed Name of Applicant                                       Printed Name of Co-Applicant (if applicable)

                 PO Box 24048
                 Jacksonville , FL 32241
      Address:                                                        Address:




      Telephone : (904) 204-9148                                      Telephone :_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

      Email: admin@adamscohen.com                                      Email: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


      6. Notarization                                                 6. Notarization
      STATE OF     Floridal                                           STATE OF _ _ _ _ _ _ _ _ _ _ _ _ __
              ----------------
      COUNTY OF Duval                                                  COUNTY OF _ _ _ _ _ _ _ _ _ _ _ _ __
                ---------------
      This Application for Unclaimed Funds, dated                      This Application for Unclaimed Funds, dated
      May 24, 2021
      me this j f4 day of                 "'1        ,
                           was subscribed and sworn to before
                                  J..-t           20U-_by
                                                                       _ _ _ _ _ _ _ was subscribed and sworn to before
                                                                       me this _ _ _day of_ _ _ _ _ _ _ , 20 _ _by

       Jairo Camargo
      who signed above and is personally known to me (or               who signed above and is personally known to me (or
      proved to me on the basis of satisfactory e ae ce) to be         proved to me on the basis of satisfactory evidence) to be
      the person whose name is subscribe          o the within         the person whose name is subscribed to the within
      instrument. WITNESS my hand and offi I         I.                instrument. WITNESS my hand and official seal.

      (SEAL)                                                           (SEAL)           Notary Public5_ _ _ _ _ _ _ _ __

                         My commission expires : _ _ _ _ __                             My commission expires: _ _ _ _ __




4
    Signature of Applicant must be an original/wet signature, preferably in blue ink.
5
    Signature of Notary Public must be an original/wet signature, preferably in blue ink.

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                                         CERTIFICATE OF SERVICE

           In accordance with 28 U.S.C. § 2042, the undersigned hereby certifies that on the date
    designated below, a true and correct copy of the foregoing application with all required
    documentation was mailed to:

    United States Attorney for Northern District of Alabama            Shavon Latress Richardson
    1801 Fourth Ave North                                              Attomev for the Debtors
    Birmingham, AL 35203.                                              Alabam'a Consumer Law G;oup. LLC
                                                                       P.O. Drawer 756
    Names and addresses of all other parties served :                  Talladega AL 35161
                                                                       shavon(ci1aclg.law
     Max C, Pope, Jr.
     Attorney for Trustee
                                                                       Honorable Robert J. Landry. Ill
     PO Box 2958
                                                                       Assistant Bankruptcy Administrator
     Birmingham, AL 35202
                                                                       1129 Noble Street
     max 'a;maxpopejr .com
                                                                       Anniston. AL 36201
                                                                              landrvrcvalnba uscourts. )0\

    Date:   _2_
              4-_M_a-CC-y_-2_0_2_
                                1


                                                             (Name Printed)

                                                              PO Box 24048
                                                             (Street or P O Box Address)

                                                              Jacksonville
                                                             (City)

                                                              FL
                                                             (State)

                                                              32241
                                                             (Zip Code)




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